
 1  The People of the State of Colorado, Appellee,  In the Interest of A-D.M-F., a Child, and Concerning A.F., Appellant. No. 21CA0738Court of Appeals of Colorado, Fourth DivisionDecember 23, 2021
    
               NOT
      PUBLISHED PURSUANT TO C.A.R. 35(e)
    
    
               
      Arapahoe County District Court No. 19JV274 Honorable Natalie
      T. Chase, Judge
    
    
               
      OPINION
    
    
                TOW,
      JUDGE
    
    
               JUDGMENT
      AFFIRMED
    
    
                J.
      Jones and Freyre, JJ., concur
    
    